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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Jane Doe
                                          Plaintiff,
v.                                                       Case No.: 1:17−cv−03688
                                                         Honorable John Robert Blakey
Harpercollins Publishers, LLC, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 21, 2018:


       MINUTE entry before the Honorable John Robert Blakey: The parties' joint
motion for entry of protective order [52] is granted. Enter Agreed Confidentiality Order.
The 5/29/18 Notice of Motion date is stricken, and the parties need not appear. Mailed
notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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